                                                           Case Number:20-002755-CI
           Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 1 of 40 PageID 14
Filing #   108550742 E-Filed 06/08/2020 05:07:14 PM




                             IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                  IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                             CIVIL DIVISION



               THE ESTATE OF DONALD J.               JACK, by and
               through      JESSICA            GUNTER,    Personal
               Representative,

                             Plaintiff


               V




               CCRC OPCO FREEDOM SQUARE,
                              -



                                                              LLC; HCP,
               INC. a/lda HCP INC. OF MARYLAND n/k/a                                 CASE NO.:
               HEALTHPEAK      PROPERTIES,       INC.;
               BROOKDALE SENIOR    LIVING, INC.; BKD
               TWENTY-ONE MANAGEMENT COMPANY,
               INC.;     AMERICAN        RETIREMENT
               CORPORATION; LIFE CARE  SERVICES, LLC;
               and, CYNTHIA AYALA (as to SEMINOLE
               PAVILION REHABILITATION AND NURSING
               SERVICES),

                             Defendants.
                                                                          i


                           PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL


                      THE ESTATE OF DONALD J.                   JACK, by and through JESSICA GUNTER, Personal

           Representative, and by        and   through undersigned counsel, hereby sues Defendants, CCRC OPCO

           -

                   FREEDOM        SQUARE, LLC; HCP, INC.                 a/k/a HCP        INC.   OF    MARYLAND          n/k/a


           HEALTHPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING,                                      INC.; BKD TWENTY-

           ONE MANAGEMENT COMPANY,                            INC.; AMERICAN RETIREMENT CORPORATION;

           LIFE CARE        SERVICES, LLC; and, CYNTHIA AYALA (herein after, the "Defendants").                         All of


           the     allegations contained      in this   Complaint are   based   on   either known facts   or   information and


           belief. Plaintiff alleges     as   follows:




***ELECTRONICALLYFILED 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 2 of 40 PageID 15




                                                      INTRODUCTION

           This    case concerns       the   injuries, damages, and untimely     death of DONALD J. JACK                   as a



result of Defendants' actions and omissions                  during his residency    at Defendants' skilled         nursing

facility   known       as   Seminole Pavilion Rehabilitationand           Nursing Services (the "Facility").          What


was   supposed to be merely a short-term rehabilitationadmission turned out to be a death sentence

for DONALD J. JACK due to Defendants' business practice of placing                          profits over residents.         For


years,     even    before DONALD J. JACK's                  residency,   Defendants chose to         place profits      over



residents and          ignore    deficiencies in their emergency         preparedness plan      and in their infection


preventionand control program. When Defendants' deficiencies became more pronounced in light

of the COVID-19             pandemic, Defendants          continued to choose to    place profits      over   residents     by

refusing to       be   forthcoming       with the     authorities, staff, residents, and   residents' relatives of the


potential dangers o f COVID-19 and                   of the COVID-19 positive     cases    at the   Facility. Instead, for

almost     a    week after the first COVID-19 death at the             Facility, Defendants withheld information

regarding the       COVID-19 positive death at the             Facility and withheld supplies necessary to protect

residents and staff.        During the time Defendants kept everyone in the               dark and withheld necessary


supplies, DONALD J.              JACK contracted COVID-19.           Only after the Facility had become known as

the   epicenter in Pinellas County for               COVID-19 and interventionfrom the Florida Department of


Health,    did Defendants transfer all             ninety-five (95) residents, including      DONALD J. JACK, to


local   hospitals to get the          necessary care and to allow Defendants and the Florida              Department         of


Health to       completely reset the Facility's          infection control   practices,   decontaminate the        site,    and


provide additional training             for staff.   Unfortunately, by   this time DONALD J. JACK had tested


positive for COVID-19             and only five       days thereafter DONALD J.     JACK was dead as          a   result.


                        JURISDICTION,PARTIES AND VENUE ALLEGATIONS

           1.          This is   an   action for   damages in excess of Thirty Thousand Dollars ($30,000.00).

                                                                2
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 3 of 40 PageID 16




        2.          On   or     about        April 2, 2020,      DONALD J. JACK                 was   admitted to SEMINOLE


PAVILION REHABILITATION AND NURSING SERVICES, located at 10800 Temple Terrace,


Seminole,     Florida 33772 in Pinellas                 County,   where he remained until             approximately April 17,

2020.


        3           Plaintiff, JESSICA GUNTER, is the Personal Representative ofTHE ESTATE OF

DONALD J. JACK.                  Letters of           Administration,        dated    May 15, 2020, evidencing       JESSICA


GUNTER's       authority to bring this action               on   behalf of THE ESTATE OF DONALD J. JACK                     are


                                    C.   .    .,

attached hereto     as   Exhibit     A.



        4.          SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is                                                  a



fictitious   name   owned       by Defendant CCRC OPCO                       -

                                                                                 FREEDOM SQUARE, LLC.


        5.          CCRC OPCO                    -

                                                     FREEDOM      SQUARE, LLC is the licensee that operated the

Facility during DONALD J. JACK's residency.

        6.          CCRC OPCO                -

                                                  FREEDOM SQUARE,                 LLC, is an active Delaware limited liability

company,      with       its    principal place             of    business          at   1920    Main    Street, Suite   1200,

Irvine, California 92614, which is registered                     to   do business in Florida and is        doing   business in


Florida.


        7.          CCRC OPCO                 -

                                                     FREEDOM     SQUARE,           LLC conducted and      engaged   in business


activities within the State of Florida;                 engaged in         substantial and not isolated activities within the


State of Florida; and          purposely availed itself of the privileges                 of the State of Florida, through its


ownership of, leasing of, operation of, management of,                               and/or consultation with   nursing home

facilities, including SEMINOLE                       PAVILION REHABILITATION AND NURSING                         SERVICES,

within the State of Florida.                 Accordingly, pursuant               to section   48.193, Florida Statutes, CCRC




                                                                       3
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 4 of 40 PageID 17




OPCO    -

             FREEDOM      SQUARE, LLC is subject                 to the   jurisdiction of the     courts of the State of


Florida.


        8       CCRC OPCO            -

                                         FREEDOM           SQUARE, LLC committed tortious                  acts   against

DONALD J. JACK in the State of Florida.                       Each tortious act is         specifically alleged   in the


subsequent    counts.    Accordingly, pursuant to            section 48.193, Florida         Statutes, CCRC OPCO       -




FREEDOM       SQUARE, LLC is subject to the jurisdiction ofthe Courts ofthe State of Florida.

        9-      HCP,       INC.     a/k/a    HCP         INC.      OF     MARYLAND            n/k/a    HEALTHPEAK


PROPERTIES, INC. (hereinafter referred               to as   "HCP") is the owner of property located at            10800


Temple Terrace, Seminole,         Florida 33772, which is the property upon which the SEMINOLE


PAVILION REHABILITATION AND NURSING SERVICES is situated.


        10.     HCP is     a   Maryland corporation,         with its     principal place    of business at 1920 Main


Street, Suite 1200, Irvine, California 92614, which is registered to do business in Florida and is

doing business in Florida.

        11.     HCP had the       authority to      and did exercise control          over   the funds available to the


Facility for the use    and benefit of the       residents, including DONALD J.              JACK.


        12.     HCP      required rents     or   other   compensation from funds it knew were necessary for

DONALD J. JACK's support and maintenance. HCP knew that such conduct would                                  deprive the

Facility of adequate resources to provide for              the   wellbeing of the Facility's residents, including

DONALD J. JACK.


        13.     HCP        shared    control        over     the     operation        of   SEMINOLE        PAVILION


REHABILITATION AND NURSING SERVICES                                  through    its   authority   to control the funds


available to the   Facility for the use and benefit of the residents, including DONALD J.                    JACK.




                                                             4
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 5 of 40 PageID 18




        14.       HCP conducted and         engaged   in business activities within the State of        Florida;

engaged in substantialand not isolated activitieswithin the State of Florida; and purposely availed

itself of the   privileges of the   State of Florida,   through its ownership of, leasing of, operation of,

management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

REHABILITATION AND NURSING                     SERVICES, within the State of Florida. Accordingly,

pursuant to section 48.193, Florida Statutes, HCP is subject            to the jurisdiction ofthe courts of the


State of Florida.


        15.       HCP committed tortious acts         against DONALD          J. JACK in the State of Florida.


Each tortious act is   specificallyalleged in the subsequent counts. Accordingly, pursuant to section

48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the State of Florida.

        16.       BROOKDALE SENIOR LIVING, INC. is                        a   Delaware   corporation,   with its


princ*al place     of business at 111 Westwood Place, Suite 400, Brentwood, Tennessee 37027,


which is registered to do business in Florida and is          doing business in Florida.

        17.       BROOKDALE SENIOR LIVING, INC. is the parent company and operator of


SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.


        18.       BROOKDALE SENIOR LIVING, INC. conducted and                            engaged    in business


activities within the State of Florida;     engaged in       substantial and not isolated activities within the


State of Florida; and    purposely availed itself of the privileges of the        State of Florida, through its


ownership of, leasing of, operation of, management of,              and/or consultation with     nursing homes,

including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, withinthe

State of Florida.     Accordingly, pursuant      to     section 48.193, Florida      Statutes,   BROOKDALE


SENIOR LIVING, INC. is         subject to   the jurisdiction of the courts of the State of Florida.




                                                         5
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 6 of 40 PageID 19




          19.        BROOKDALE SENIOR LIVING, INC. committed tortious acts                       against DONALD

J. JACK in the State of Florida. Each tortious act is             specificallyalleged in the subsequent counts.

Accordingly,pursuant to            section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.


is   subject to the jurisdiction of the courts        of the State of Florida.


          20.        BKD        TWENTY-ONE MANAGEMENT COMPANY,                             INC.    is    a   Delaware


corporation,       with its     principal place   of business at 111 Westwood Place, Suite 400,          Brentwood,

Tennessee 37027, which is             registered to   do business in Florida and is   doing business in Florida.

          21.        BKD         TWENTY-ONE           MANAGEMENT            COMPANY, INC.               served   as   a




management company for SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES during DONALD J. JACK's residency.


          22.        BKD        TWENTY-ONE MANAGEMENT COMPANY,                             INC.    conducted and


engaged in business           activities within the State of Florida;    engaged   in substantial and not isolated


activities within the State of Florida; and            purposely availed itself of the privileges of the      State of


Florida, through       its    ownership of, leasing of, operation of, management of,          and/or consultation


with    nursing homes, including           SEMINOLE PAVILION REHABILITATION
                                                             REHABILITATIONAND
                                                                          NA   NURSING


SERVICES, within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes,

BKD TWENTY-ONE MANAGEMENT                              COMPANY, INC. is subject         to the   jurisdiction of the

courts   o f the   State   of   Florida.


          23.        BKD TWENTY-ONE MANAGEMENT                           COMPANY, INC. committed tortious

acts   against DONALD J.            JACK in the State of Florida. Each tortious act is     specificallyalleged in

the   subsequent counts. Accordingly, pursuantto section 48.193, Florida Statutes, BKD TWENTY-

ONE MANAGEMENT COMPANY, INC. is                            subject to   the jurisdiction of the courts of the State


of Florida.




                                                             6
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 7 of 40 PageID 20




          24.     AMERICAN RETIREMENT CORPORATION is                           a   Tennessee   corporation, with

its   principal place   of business at 111 Westwood Place, Suite         400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is          doing business in Florida.

          25.     AMERICAN RETIREMENT CORPORATION                               conducted and        engaged     in


business activities within the State of Florida;     engaged       in substantial and not isolated activities


within the State of Florida; and     purposely availed itself of the privileges           of the State of   Florida,

through its ownership of, leasing of, operation of, management o f, and/or consultation
                                                                           consultationwith
                                                                                      nw    nursing

homes, including        SEMINOLE PAVILION REHABILITATION AND NURSING                                 SERVICES,

withinthe State ofFlorida. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN


RETIREMENTCORPORATION is                  subject to the jurisdiction ofthe courts ofthe State ofFlorida.

          26.     AMERICAN RETIREMENT CORPORATION committed tortious acts                                   against

DONALD J. JACK in the State of Florida.                  Each tortious act is        specifically alleged    in the


subsequent      counts.   Accordingly, pursuant   to section       48.193, Florida Statutes, AMERICAN

RETIREMENTCORPORATION is                  subject to the jurisdiction ofthe courts ofthe State ofFlorida.

          27.     AMERICAN RETIREMENT CORPORATION                               is   an   entity   that   operated,

managed,     controlled and   oversaw   SEMINOLE PAVILION REHABILITATION AND NURSING


SERVICES during DONALD J. JACK's residency.


          28.     LIFE CARE     SERVICES, LLC       is   an   active Iowa limited     liability company, with its

princ*al place     of business at 400 Locust    Street, Suite 820,       Des   Moines,    Iowa   50309, which is

registered to   do business in Florida and is   doing business in Florida.

          29.     LIFE CARE     SERVICES, LLC       served as      a   management company for SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES                                   during     DONALD J. JACK's


residency.



                                                         7
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 8 of 40 PageID 21




          30.      LIFE CARE SERVICES, LLC conducted and                   engaged in business activitieswithin

the State of Florida;      engaged in   substantial and not isolated activities within the State of Florida;


and    purposely   availed itself of the   privileges   of the State of     Florida, through    its   ownership of,

leasing of, operation of, management of,             and/or consultation with        nursing homes, including

SEMINOLE PAVILION REHABILITATION AND NURSING                                   SERVICES, within the State of

Florida. Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE                   SERVICES, LLC

is   subject to the jurisdiction of the courts    of the State of Florida.


          31.      LIFE CARE       SERVICES, LLC committed tortious acts against DONALD J. JACK

in the State of Florida.          Each tortious act is       specifically alleged   in the    subsequent    counts.



Accordingly,pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC is subject

to the jurisdiction of the courts of the State of Florida.


          32.      CYNTHIA AYALA            was   at all material times hereto       a   resident of the State of


Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING


SERVICES.


          33.      CYNTHIA AYALA conducted and                 engaged in business    activitieswithin the State


of   Florida; engaged      in substantial and not isolated activities within the State of              Florida;   and


purposely availed herself of the privileges         of the State of Florida,      through    her management       of,

operation of,    control   of,   and/or consultationwith SEMINOLE PAVILION REHABILITATION


AND NURSING SERVICES, withinthe State ofFlorida.                      Accordingly, pursuant to section 48.193,

Florida    Statutes, CYNTHIA AYALA is subject                to the   jurisdiction of the   courts of the State of


Florida.


          34.      CYNTHIA AYALA committed tortious acts                    against DONALD       J. JACK in the


State of Florida. Each tortious act is       specificallyalleged in the subsequent counts. Accordingly,



                                                         8
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 9 of 40 PageID 22




pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of

the courts   o f the   State     o f Florida.



                                                FACTUAL ALLEGATIONS


           35.     In December           2019, the government in Wuhan, China, confirmed that health

authorities were       treating clusters        of   cases   of   suspected pneumonia        that   appeared     to be viral in



origin.

           36.     On    or     about   January 30,2020,          the World Health        Organization declared       a   Public


Health Emergency of International Concern after the outbreak ofthe 2019 coronavirus disease.


           37.     On   February 11, 2020, the World Health Organization announced an official name

for the    new   disease    -




                                coronavirus disease 2019, abbreviated              as   COVID-19.


           38.     COVID-19 is           an   infectious virus that attacks the          respiratory system of its        human


host. The    elderly, medically fragile, and those with compromised immune systems are particularly

susceptible to fatality         due to COVID-19.


           39.     On    or     about   February 29,2020, the            Centers for Disease Control and Prevention


("CDC") released a          statement     regarding     the first confirmed death in the United States from the


coronavirus. In addition to the first confirmed                     death,   the CDC      reported   that the    public   health


officials in the state of Washington had also reported two additional hospitalizedpatients                            -




                                                                                                                          two of


which     were   from   a   long-term care facility where              one was a   health   care   worker   -




                                                                                                                who had tested


                                for the virus that      causes     COVID-19. In         addition, the   CDC      reported   that


additional residents and staff of the            long-term care facility had not yet been tested but were either

ill with   respiratory symptoms or hospitalizeddw
                                                with pneumonia of unknown cause.


           40.     On   or      about March 1, 2020, in response to            positive cases of COVID-19 in Florida,

Governor Ron DeSantis issued Executive Order 20-51,                          directing the Florida Department of Health

to declare a Public Health           Emergency.

                                                                   9
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 10 of 40 PageID 23




           41.      On   or   about March 4,2020,    Defendants, via         various      websites, represented to    the


 staff, residents, and    relatives that Defendants were      taking action      to address COVID-19 concerns


 such as:


                 a) Providing consistent updates and communicationto those who live and work in the

                    community.

                 b) Following     evidence-based    precautions      that    align   with     guidelines provided by

                    the CDC.


                 c) Reviewing response measures to          ensure   the    community is organized and ready if

                    the virus   impacts the community or the surrounding area.

           42.      On   or   about March   9,2020, the Governor of Florida declared a                state of emergency


 existed in Florida.


           43.      On March 11, 2020, the World Health          Organization declared              COVID-19 a     global

 pandemic.

           44.      On   or   about March 13, 2020, the Governor of Florida ordered all Florida nursing


 home facilities to lock down and        implemented    a   visitation ban in        an   effort to   mitigate the risk to

 Florida's most vulnerable populationto         COVID-19, which is Florida's elderly population(i. e. over

 the age of sixty-five (65)) and      particularly those who have underlying medical                  conditions such as


 cancer,     chronic     lung     disease,    moderate-to-severe        asthma,           serious     heart   conditions,

 immunocompromised status, diabetes, severe obesity, renal                  failure and liver disease.


           45.      On   or   about March 15, 2020,   Defendants, via their          shared website, represented to


 the   staff, residents,and relativesthat Defendants were continuing to take action to address COVID-

 19    concerns   such as:


                 a) Continuing to follow the guidance        from both the CDC and local health authorities.




                                                        10
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 11 of 40 PageID 24




              b) Increasing the frequency and rigor of cleaning and sanitizing common community

                    areas.




              c) Reviewing emergency preparedness and response program.

              d) Coordinating best practices and across their large partner network.

              e) Providing all         residents and their families with the most      up-to-date guidance    from


                    the CDC.


              f) Staying        in communication
                                   communicationwith
                                               nw    local health officials.


        46.         Despite      Defendants'     representations    to    the   staff, residents,   and   relatives,

 Defendants failed to         adequately take   action to address COVID-19 concerns and failed to          comply

 with their   own   procedures by,       among other   things:

              a) Failing to supply or require staffto wear Personal Protective Equipment ("PPE");

              b) Allowing asymptomatic              staff who had been      exposed   to COVID-19 to continue



                    working at the Facility;

              c) Failing       to   provide staff, residents, and   their families with consistent updates and


                    communicationregarding the risk of COVID-19 and of COVID-19 positive                      cases



                    at the   Facility; and,

              d) Failing to implement          an
                                                    adequate emergency preparedness and response program.

        47.         On   or   about   April 2,2020, at    the age of     seventy-five (75), DONALD        J. JACK


 admitted himself to SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES


 (the "Facility") for short-term rehabilitationfor generalized weakness as he merely needed to gain

 strength to receive chemotherapy for his recent diagnosis of Hodgkin's Lymphoma.




                                                           11
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 12 of 40 PageID 25




          48.     Upon admission,           Defendants documented that DONALD J. JACK had various


 diagnoses including, but not limited to, Hodgkin's Lymphoma, Type II diabetes, and abnormality

 of albumin.


          49.     Due to his age and         underlying medical conditions, Defendantsknew DONALD J.

 JACK was       one   of the residents most vulnerable to COVID-19.


          50.     Although Defendantswere on high-alert for COVID-19 since January 2020 and of

 the residents' vulnerability, Defendants, consistent with their business                   practice of placing profits

 over   residents, disregarded the safety of DONALD             J. JACK and the other residents            by failing to

 implement adequate protocols to             minimize the risk and         spread   of COVID-19 and        by failing   to



 implement adequate care,       services and infection control at the           Facility.

          51.     Defendants' acts and omissions included, but were not limited to:


                      a.
                            Failing to properly use residents' funds;

                  b-        Failing   to have an   adequate emergency preparedness plan in place to keep

                            residents safe from emerging infectious diseases like               COVID-19;

                      C
                            Failing to implement adequate protocols to minimize the risk and spread of

                            COVID-19;

                      d-    Failing    to    implement   an
                                                               adequate system         for   preventing, identifying,

                            reporting, investigating,         and    controlling    infections and communicable


                            diseases for all residents and      staff;

                      e.    Failing   to    immediatelynotify       the   authorities, staff, residents,   and relatives


                            ofthe    potential dangers of COVID-19 and ofthe                COVID-19 positive     cases



                            at the   Facility;

                  f.        Forcing staff to reuse PPE;



                                                          12
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 13 of 40 PageID 26




                 go         Failing     to   supply proper masks and       gowns for weeks         causing many    staff


                            members to resort to         providing their   own      homemade facial      coverings   not



                            medically graded to protect against the virus;

                 h.         Failing to       follow and/or adhere to the standards and          protocols set out by the

                            CDC and other state and local authorities related to infection control and


                            prevention;

                 i.         Failing to       communicatethe outbreak to the authoritiesand avail themselves


                            of the available PPE;


                 j          Failing     to   implement safety protocols,    such     as   disinfecting many common

                            areas, to minimize the        spread of the virus;

                 k.         Failing to provide adequate staff in number and training;

                 1.         Failing     to be   forthcoming   and   adequately share information regarding           the


                            outbreak at the Facility with        employees, residents and their relatives.

                 m.         Reducing basic cleaning practices for which the residents paid for;

                 n.         Permitting widespread safety failures,                  such   as   inadequate   staff and


                            equipment, increasing the         risk of injury   or   death during an emergency such


                            as   the   pandemic;

                 0.         Failing to       have   adequate management oversight; and,

                 PO         Permitting asymptomatic           staff who had been           exposed   to COVID-19 to


                            continue to work at the Facility and interact with residents.


          52.    As   a   result of Defendants' acts and omissions and total               disregard for the residents,

 the   Facility experienced systemic failure            and became the center of the COVID-19 outbreak in


 Pinellas County.




                                                            13
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 14 of 40 PageID 27




          53.      To   date,   at least 25 deaths of residents and staff                 resulting     from COVID-19             are



 linked to this   single Facility.

          54.      The    Facility's     first confirmed      case    of    a   resident with COVID-19             was     a   male


 resident that   was   hospitalized on April 5,2020, and tested positive                   on   April 9,2020, for COVID-

 19. The resident then died on          April 10,2020.

          55.      Althoughthe Facility had its             first confirmed case of COVID-19 on                April 9,2020        -




 approximately     seven    days      after DONALD J. JACK                 was     admitted to the       Facility    -




                                                                                                                         and first


 confirmed death     on   April 10,2020, Defendants failed to be forthcoming in sharing this information

 with   employees, residents, their relatives, and the public.

          56.      Rather, despite having difficulty managing the rapid outbreak, Defendants waited

 approximately a week        to disclose to the       public the     first confirmed COVID-19              case.   Defendants'


 delay in reporting delayed assistance with the much need PPE available through the county.

          57.      Defendants' staff were           kept in the   dark by Defendants and did not know about the


 gravity ofthe outbreakuntil the media reported the transfer ofresidents on or about April 15,2020.

          58.      Likewise, family members and advocates have sounded alarms about the delays                                    in


 residents and the public being informed about the outbreak as families                         are   learning more about the

 outbreak from the media than from Defendants who                     are
                                                                            keeping everyone          in the dark.


          59.      Despite      the   gravity      of the   outbreak,   Defendants failed for weeks to                    provide

 adequate gowns and masks             for staff.


          60.      Defendants' staff feared for their               safety      because   protocols     were   not in     place   to


 minimize virus     spread such as providing proper PPE and disinfecting common areas.                               As   a   result,

 staffbegan quitting and resident care deteriorated even further as staff quit and supplies shrank.




                                                               14
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 15 of 40 PageID 28




          61.       On       or   about   April 16, 2020,        the    Facility received laboratory results confirming

 DONALD J. JACK was                 positive for COVID-19.

          62.       By April 16,2020, approximately 30 residents and staffmembers at the community

 had tested positive for COVID-19 and                    by April 17,2020, two        additional residents had died.


          63.       Defendants were reluctant to transfer residents to                     hospitals, but began     to transfer


 mass   amounts of residents on or about                  April 16, 2020,      when   they became overwhelmed by           the


 outbreak.


          64.       On       or   about   April 17, 2020,         after intervention from the Florida        Department     of


 Health and after        nearly     60 residents         were    transferred to    area   hospitals   who had either tested


 positive (or     were       presumed positive)            for   COVID-19,        Defendants transferred all        remaining

 residents at the   Facility, including DONALD J. JACK, to                       local hospitals to allow Defendantsand


 the Florida     Department         of    Health to   completely reset the Facility's           infection control   practices,

 decontaminate the           site, and provide additional training for staff.

          65.       In   a   span of eight       days,   from the first confirmed         diagnoses to   the mass evacuation


 on   April 17, 2020, a total of 95 residents were removed from the Facility and three had died.

          66.       On April 21,2020, only five              days after being diagnosed, DONALD J. JACK passed

 away    as a   result of     COVID-19,          which he contracted at the         Facility due   to Defendants' acts and


 omissions.


          67.       Based upon the acts and omissions described                      above, as   well    as numerous   reports

 from Defendants' own             staff, Defendants, who were focused on their own self-interests and putting

 profits over the well-being             ofthe   Facility's residents in reckless disregard for the residents' safety

 and   well-being, were ill-prepared to protect                   the    residents, including   DONALD J. JACK, from


 emerging infectious diseases like COVID-19.



                                                                    15
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 16 of 40 PageID 29




           68.        In   fact, Defendants have        a   history   of insufficient infection control          practices   and


 have been       on   notice of this    problem     since at least    February 9, 2018,       when the   Facility was      cited


 by the Department of Health for failing to have a program in place to prevent the development and

 transmission of communicable diseases and infections.


           69.        The   Department of Health cited the Facilityagain on March 15, 2019,                       for failing to


 provide    and       implement       an   infection   prevention       and control program to           help prevent        the


 development and transmission of communicable diseases and infections. Notably, the Department

 of Health found that the staff members failed to                     use   PPE when      providing care   to a resident on


 contact isolation precautions.


           70.        Defendants' acts and           omissions,     with        knowledge   of their   history   of   failing   to



 provide and implement             an   adequate infection prevention and              control program and in the face of


 the grave   danger        faced   by DONALD         J. JACK and the other residents of contracting COVID-19,


 were so   reckless or       wanting in     care   that it constituted      a   conscious disregard or indifferenceto the


 life, safety    or   rights of by      DONALD J. JACK and the other residents                   exposed    to Defendants'


 conduct.


                                            CORPORATE BACKGROUND


           71.        BROOKDALE SENIOR                  LIVING, INC.            was   formed in June 2005 for the purpose


 of combining two           leading     senior   living companies,      Brookdale Senior       Living Communities, Inc.

 and Alterra Healthcare Corporation. Both                   companies had been operating independently since the

 1980's.


           72.        Approximately one            year after its     formation,      BROOKDALE SENIOR                LIVING,

 INC.   acquired           another senior        living community operator,                AMERICAN        RETIREMENT


 CORPORATION,                which had been          independently operating             since 1978. The     acquisition        of




                                                                16
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 17 of 40 PageID 30




 AMERICAN RETIREMENT CORPORATION made BROOKDALE SENIOR                                                   LIVING, INC.

 the   largest operator of senior living facilities in the United              States.


              73.     On     or   about   July 20, 2007,      BROOKDALE SENIOR LIVING, INC.,                      through

 AMERICAN              RETIREMENT                 CORPORATION,               purchased      SEMINOLE        PAVILION


 REHABILITATION AND NURSING SERVICES.


              74.     BROOKDALE SENIOR LIVING, INC. is the parent company and                             long term care

 operator ofhundreds ofvarious senior living housing and service alternativesincluding retirement

 centers, assisted          living facilities,      skilled   nursing      facilities and   continuing   care   retirement


 communities also known              as   CCRCs     throughout the country including          SEMINOLE PAVILION


 REHABILITATION AND NURSING SERVICES.


              75.     BROOKDALE SENIOR LIVING, INC. owns, operates, and manages its facilities


 using    the   same   officers and directors to control and operate all of its agents and subsidiaries.


 BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

                                                                     ..


 oversight o f operations from a "national platform.

              76.     SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is


 part of a larger CCRC, known               as   Freedom Square of Seminole ("Freedom Square"), which offers


 a     full    continuum      of    care.    The     Freedom     Square       campus includes      independent living

 accommodations,            an    assisted   living facility,    and two skilled         nursing facilities,    one    being

 SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom                                                       Square
                                                                      ..
 offers both rental and what is known               as   "Life Care programs. The rental program operates on              a




 monthly rental fee basis,          with    no   entry fee. The Life Care program is secured with           an   entry fee

 purchase to        cover   the cost of future accommodationsand health care services.




                                                                17
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 18 of 40 PageID 31




                77.       BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow                                                a



 resident to          "age in place"      as   it offered a retirement communitywith                 opportunitiesfor independent

 living, assisted living and nursing home care.                           In theory,   a   person could   spend the rest ofhis or her

 life in   a    CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

 which could include the               price      of one's    home, potentially committing that individual              to the CCRC



 regardless of the quality care they receive.                           In   2015, CCRCs were responsible for almost 20% of

 BROOKDALE SENIOR                         LIVING, INC.'s total senior living capacity.

                78.       In    2014, in     an    effort to grow revenue, BROOKDALE SENIOR LIVING, INC.

                                                                                                          ..
 entered into           an   agreement with         a   real estate investment trust            ("REIT ), HCP,       to create a new


 business model for certain                    preexisting          facilities.   Together,    the   companies   restructured these


 facilities with the intent to make                     a   profit by releasing equity, increasing occupancy, increasing

 monthly              service     fees,      and     controlling operating                 expenses.   SEMINOLE          PAVILION


 REHABILITATION AND NURSING SERVICES was included in this restructure.


                79.       The    new    business     model,         in part, involved the       restructuring   of   currently   owned


 facilities      by creating       new     companies          for   no    legitimate   purpose other than to avoid        liability   for


 shoddy risk management. In effect,                         Defendantstook        a   legitimately named company; broke          it into


 pieces;        saddled it with tremendous                   liabilities;     and sucked out all the cash. This         restructuring

 involved the ostensible               separation of the real estate on which the                facilities sit from the operator of


 the   facility itself.         This   model,      known      as    the   "Propco-Opco" structure, required the         formation of


 two   new       entities to take over the pre-existing                 one:   the real estate company, or the so-calledlandlord

                 ..


 Mopco 1, and the facility operator, or the                             so-called master tenant ("Opco"). At the         closing, the
           ..


 "Opco entity engaged                   an     affiliate of BROOKDALE SENIOR LIVING, INC. to manage the


 owned and leased               community pursuant to               a   management agreement.



                                                                             18
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 19 of 40 PageID 32




           80.      On   or   about   August 29, 2014,        at or about the same time that BROOKDALE


 SENIOR LIVING, INC. and HCP                  partnered to     increase revenues and created the            Propco/Opco

 entities, BROOKDALE SENIOR LIVING, INC. filed a change of ownership applicationwith the

 State of Florida.


           81.      After the     change    in    ownership,       a   new   company, Defendant CCRC OPCO
                                                                                                                         -




 FREEDOM          SQUARE, LLC, the "Opco" or operating entity,                    was    also created. CCRC OPCO         -




 FREEDOM           SQUARE,         LLC      became      the    new       licensee    of     SEMINOLE          PAVILION


 REHABILITATION AND NURSING SERVICES and the                                   entity saddled with     liabilities.


           82.      BROOKDALE SENIOR LIVING, INC. and HCP                                 jointly   own    CCRC OPCO


 Ventures, LLC, which owns one hundred percent of CCRC OPCO-FREEDOM SQUARE, LLC.

           83.      CCRC OPCO-FREEDOM                 SQUARE, LLC entered into               a
                                                                                                 management agreement

 with   another BROOKDALE SENIOR LIVING,                                INC.    subsidiary,      BKD    TWENTY-ONE


 MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE


 PAVILION REHABILITATION AND NURSING SERVICES and other                                          nursing   home facilities


 in Florida.


           84.      BKD TWENTY-ONE MANAGEMENT                                  COMPANY, INC. assumed certain

 duties and      obligations towards residents        to manage the          day-to-day operations        of SEMINOLE


 PAVILION REHABILITATION AND NURSING SERVICES. The centralized corporate


 functions include     financing, accounting, human resources, marketing,training, regulatory, affairs,

 purchasing food      and     supplies,   asset   management, extensive policy and procedure manuals and

 extensive   quality control programs.

           85.      BROOKDALE SENIOR LIVING, INC. 's and HCP's                               quality   control   measures



 include   community inspections conducted by corporate staff on                     a   regular basis.    BROOKDALE




                                                              19
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 20 of 40 PageID 33




 SENIOR LIVING, INC. and HCP focus                          on   increasing occupancy        and   increasing revenues       to



 attempt   to    generate   a   profit   to   support the expansion of their brands through the acquisition of

 additional facilities.


           86.      Upon information and belief,                  on   or   about    January 31, 2020,       HCP     acquired

 BROOKDALE              SENIOR                LIVING,        INC.'s     interest       in    SEMINOLE            PAVILION


 REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE


 PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.


 However, documents reflecting the change of ownership and/or management have                                   not been filed


 with and/or made available           by the    State of Florida.


                            CORPORATE CONDUCT AND JOINT VENTURE


           87.    Based upon information and belief and the                      allegations stated above, at     all relevant


 times,   CCRC OPCO-FREEDOM                         SQUARE, LLC,            BROOKDALE SENIOR                LIVING, INC.,

 AMERICAN           RETIREMENT                 CORPORATION,             BKD         TWENTY-ONE MANAGEMENT


 COMPANY, INC., HCP, and LIFE CARE SERVICES, LLC, engaged in                                       a   joint venture to   own,


 operate, and manage nursing homes including SEMINOLE PAVILION REHABILITATION

 AND NURSING SERVICES. Each                         can   bind the other and each has the      authorityto participate in

 the other's profits and the         obligationto share in each other's losses.

           88.   Money paid by        and     on    behalf of the   nursing home       residents   was   the sole   source   of


 revenue    for the   multiple layers          of   companies    created    by   Defendants to distribute and share the


 revenues        generated      at   SEMINOLE              PAVILION         REHABILITATION               AND      NURSING


 SERVICES and the other nursing homes in Florida.


           89. Defendants        managed themselves, governed                    and controlled the      care   and services


 provided to      DONALD J.          JACK, and, by virtue of their management and control, each of them,



                                                                 20
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 21 of 40 PageID 34




 voluntarily      and   intentionally assumed responsibility for           and   provided supervisory        and custodial


 services to DONALD J. JACK while he                was a   resident of the      Facility.

          90. At all relevant times, Defendantsheld themselves out                  as   being competent, capable,         and


 qualified to provide necessary services            to their   residents, including           DONALD J.      JACK, and      to



 protect and keep all residents, including DONALD J. JACK, safe from harm, including from the

 spread of infectious diseases.

          91. At all relevant         times,   Defendants      owned, operated,          and/or   managed     SEMINOLE


 PAVILION REHABILITATION AND NURSING                               SERVICES, and furthermore participated in,

 authorized,      and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND


 NURSING SERVICES and its respective agents and employees. Defendants are therefore                                  directly

 liable for their       own   negligence, recklessness,         and other tortious            conduct,   in the   hiring   and


 management of their agents and employees.

          92.   Defendants, through their         managers,     directors, presidents, vice-presidents,             executive


 officers, and other agents, directly oversaw, managed, and/or controlled all aspects ofthe operation

 and management of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,


 including budgeting, staffing, training, policy               and    procedures manual(s), licensing,              accounts



 payable, accounts receivable, general accounting, cash management, capitalization, and profit and

 loss   margins.

          93. Defendants       employed        all of those persons who attended to and                  provided   care   and


 services    to    DONALD        J.    JACK while        he     was    a   resident      at    SEMINOLE           PAVILION


 REHABILITATION AND NURSING                        SERVICES,         and   employed those persons in management

 and    supervisory positions who         directed the   operations of the Facility,            all of whom were       acting

 within the     course   and scope of their     employment.



                                                              21
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 22 of 40 PageID 35




           94.   Defendants, through         their   administrators, directors,      and   managing agents,      condoned


 and ratified all the conduct at the            Facility.

           95. At all relevant         times,   Defendants were the        knowing agents        and/or   alter-egos   of   one




 another, and are thereforevicariouslyliable for the acts and/or omissions of each other, their agents

 and   employees,     as   is   more   fully alleged herein. Moreover, at all relevant times,             Defendants were


 acting within the course and scope               of their   employment and/or agency relationship.

           96. Defendants' acts and          omissions, as alleged herein, were done in concert with each other

 and pursuant to       a common           design   and agreement to        accomplish a particular result:       maximize


 profits at the Facility, despite the result being that the Facility was underfunded and understaffed.

           97.   Defendants, by their           acts and omissions as       alleged herein, operated pursuant to             an




 agreement, with       a common          purpose and     community of interest, with an equal right of control, and

 subject   to    participation in profits         and losses such that      they operated    a   joint enterprise   or   joint

 venture, subjecting each of them to               liability for the   acts and omissions of each other.


           98. Defendants were            responsible     for the   organization and   administration of the       Facility,

 and had duties to, inter        alia,   ensure   the   Facility complied with applicable statutes and regulations,

 and   adopt policies and procedures for the Facility.

           99. Each Defendant knowinglydisregarded their respective duties and                       obligations owed to

 DONALD J. JACK and the other residents                        through    both acts and omissions. Those duties to


 reasonably operate,        manage,        own    and/or control SEMINOLE PAVILION REHABILITATION


 AND NURSING SERVICES included: the                          duty to ensure the facility had sufficientstaffwho were

 trained to meet DONALD J. JACK's needs and the needs of the other                          residents; the duty to       seek


 out and correct deficiencies or                lapses   in the   care   provided   to DONALD J. JACK and other


 residents; the duty to provide a safe environment for                   DONALD J. JACK and the other            residents;



                                                                  22
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 23 of 40 PageID 36




 the   duty to investigate the cause ofpreventable incidents that occurred at SEMINOLE PAVILION

 REHABILITATION AND NURSING                          SERVICES; the duty          to   sufficiently staff   SEMINOLE


 PAVILION REHABILITATION
          REHABILITATIONAND
                       NA   NURSING SERVICES to                                         ensure   DONALD J. JACK's


 needs and the needs of the other residents              were   met; and the     duty to   not divert funds from the



 Facility when       the funds   are     intended for the   care   and maintenance of the         residents, including

 DONALD J. JACK.


           100.      Defendantsdid not meet their duties and           obligations. Although investigations and

 surveys by various      agencies found deficiencies in the provision             of care   provided to    the residents


 of SEMINOLE PAVILION REHABILITATION AND NURSING                                        SERVICES,     each Defendant


 failed   or   refused to correct   or   address these issues addressed in the         investigations and surveys.

           101.      Defendants required       or   encouraged the    admission of residents with higher          acuity

 levels without      providing the       staff necessary to   care   for the residents. The staff was        lacking   in


 supervision, number, and        skill.


           102.      Further,   in their efforts to maximize          profits,   Defendants       intentionally   and/or


 recklessly mismanaged staffing             levels and   supply    levels below the levels necessary to         provide

 adequate care and services to the residents and implemented practices in disregard to the safety of

 the   patients.

           103.      Defendants each have extensive             experience in    the    nursing home industry.     This


 experienceprovided          each Defendant the      knowledge and experience to           know that additional staff


 and   more     skilled staff were necessary to meet the needs of residents. Even with this                 knowledge,

 Defendants failed      or   refused to    ensure   that the residents received        adequate and appropriate care

 while in their nursing home.




                                                            23
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 24 of 40 PageID 37




          104.     Defendants, pursuant             to their scheme to         place "profits    over   residents" at the


 Facility,   ratified the conduct of each Defendant in that                   they mandated, were       aware   of,   and/or


 accepted inadequate staffing, inadequatetraining, inadequate supplies and inadequatepractices at

 the   Facility,   and   were      aware    that such   inadequate staffing, inadequate training, inadequate

 supplies, and inadequatepractices could lead to injuries                 and   damages for the    residents.


          105.     In conceiving of,        implementing and carrying out their profits over residents scheme,

 Defendantswillfully, knowingly,             recklesslyand with conscious disregard for DONALD J. JACK's

 health, safety and welfare, acted in a manner that was malicious, reckless                     and   oppressive.

          106.      Further, Defendants implementedand carried out the profits over residents scheme

 with    knowledge       that such     a   scheme    was   designed      to   exploit elderly/senior citizens,        a   class


 expressly    deemed      by   the   Legislature     of the State of Florida        as a   vulnerable segment of the


 populationwho require a heightened level of protection.

          107.     Asa result ofDefendants' scheme and acts and                   omissions, DONALD J. JACK was

 victimized   by Defendants and suffered damages as alleged herein.

                                   COUNT I: BREACH OF FIDUCIARY DUTY
   As to Defendants CCRC OPCO                   -
                                                    FREEDOM SQUARE, LLC and CYNTHIA AYALA


          108.     Plaintiff re-alleges and         incorporates herein by reference paragraphs 1 through                  107


 above.


          109.     This is     a   claim that presents     a   theory of recovery based upon            the presence of      a




 fiduciary duty owed by Defendants CCRC OPCO                        -

                                                                        FREEDOM SQUARE, LLC and CYNTHIA


 AYALA, exclusive of and in addition to all rights encompassedin negligence or Chapter 400, Fla.

 Stat.


          110.     This is     a   claim that does not arise out of negligence or          a   violation of DONALD J.


 JACK's nursing home resident rights.



                                                               24
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 25 of 40 PageID 38




            111.    DefendantsCCRC OPCO                 -
                                                            FREEDOM SQUARE, LLC and CYNTHIA AYALA


 owed DONALD J. JACK a                duty to     act for or to advise him on matters within the scope of their



 specialized relationship.

            112.    DefendantsCCRC OPCO                 -

                                                            FREEDOM SQUARE, LLC and CYNTHIA AYALA


 and DONALD J. JACK had               a    developed a special relationship of trust and confidence.

            113.    That trust and confidence started when DONALD J. JACK                        was   admitted to the


 Facility because     he     was   incapable     of independently providing for all of his necessary           care   and


 services to attain and maintain the              highest practicable physical, mental,       and   psychosocial well-

 being. Specifically,DONALD J. JACK needed assistance with multiple Activities ofDaily Living

 ("ADLs") and twenty-four hour skilled nursing care.

            114.    As   a   result   of   his   varying    infirmities and advanced age, at all times         material,

 DONALD J. JACK              was
                                   incapable      of independently providing for all of his necessary care and


 services to attain and maintain the              highest practicable physical, mental,       and   psychosocial well-

 being;   and DONALD J. JACK                     was
                                                       incapable    of   dealing   with Defendants CCRC OPCO             -




 FREEDOM           SQUARE,         LLC and CYNTHIA AYALA                    on   equal   terms, and   was   incapable   of


 engaging     in any arm's     length relationsh*swith CCRC OPCO                   -

                                                                                       FREEDOM SQUARE, LLC and


 CYNTHIA AYALA.


            115.    Defendants CCRC OPCO                -

                                                            FREEDOM SQUARE, LLC and CYNTHIA AYALA


 directly   solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside


 and remain at the     Facility, and further represented through the words and acts ofits employees and

 agents that it would undertake to provide all of the necessary care and                      treatment to attain and


 maintain the      highest practicable physical, mental,            and   psychosocialwell-being for        DONALD J.


 JACK-




                                                               25
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 26 of 40 PageID 39




          116.    Additionally,             Defendants CCRC OPCO                    -
                                                                                         FREEDOM            SQUARE, LLC and

 CYNTHIA AYALA                   specifically undertook the non-delegable duty                       of   protecting DONALD         J.


 JACK's residents' rights vested in him                  by virtue of Florida law, including the right to                  be treated


 courteously, fairly,          and with the fullest measure of                dignity and      the   right to privacy.     See NME


 Properties,Inc.      v.   Rudich, 840 So. 2d           309      (Fla.   4th DCA   2003).

          117.    As       a    result of Defendants CCRC OPCO                      -

                                                                                        FREEDOM             SQUARE, LLC's and

 CYNTHIA AYALA's solicitation of DONALD J. JACK's trust and                                            confidence, DONALD J.

 JACK placed      a   special         confidence and trust in CCRC OPCO                  -

                                                                                             FREEDOM         SQUARE, LLC and

 CYNTHIA AYALA to                     provide for all ofhis necessary care and services to attain and maintain the

 highest practicable physical, mental, and psychosocialwell-being.                              And DONALD J. JACK relied


 on    CCRC OPCO       -

                           FREEDOM SQUARE, LLC and CYNTHIA AYALA to                                         provide such care and

 services.


          118.    DONALD J. JACK further                           placed special       confidence and trust in Defendants


 CCRC OPCO        -

                      FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and                                                provide for

 his individual rights           as   established in section 400.022, Florida Statutes, and to further act                        as a



 trustee for all of his         personal property that he possessed on the premises of the Facility as well                         as



 his   personal   funds and             income,      which    on    information and          belief,   he   placed   in   an   account


 maintained by CCRC OPCO                   -

                                               FREEDOM SQUARE, LLC and CYNTHIA AYALA                                  on   his behalf


 and for his benefit.


          119.    Defendants CCRC OPCO                       -

                                                                 FREEDOM SQUARE, LLC and CYNTHIA AYALA


 undertook to act          as    trustees to       protect and preserve DONALD J. JACK's personal property,

 including his clothing and other valuable personal property, as well as to maintain and manage his

 personal funds       and income in            a   trust account for DONALD J. JACK's benefit.                   Correspondingly



                                                                         26
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 27 of 40 PageID 40




 CCRC OPCO        -

                      FREEDOM SQUARE, LLC and CYNTHIA AYALA                                  voluntarily    assumed   non-




 delegable   duties to   provide DONALD             J. JACK   quarterly accounting of any            and all transactions


 made   utilizing funds   from his trust account, to maintain and                  safeguard   the funds therein and to


 only utilize said funds for authorized transactions, and to            avoid commingling of his funds with the


 funds of any other person      or   those of CCRC OPCO           -

                                                                      FREEDOM SQUARE, LLC and CYNTHIA


 AYALA.


         120.     Furthermore, Defendants CCRC OPCO                       -

                                                                                  FREEDOM        SQUARE,        LLC and


 CYNTHIA AYALA            knowingly and voluntary entered into                a   highly confidential relationsh*     with


 DONALD J. JACK. CCRC OPCO                      -

                                                    FREEDOM           SQUARE,         LLC and CYNTHIA AYALA


 voluntarily assumed extensive legal duties to comply with                    all of the   confidentialityrequirements

 enumerated in the Health Insurance             Portability      and   Accountability Act           of 1996   ("HIPAA")

 regarding DONALD         J.   JACK,   a   confidentiality similar in scope           and duration to that attendant to


 attorney-client and doctor-patient
                     doctor-patientrelationships.
                                  tr

         121.     Moreover, DefendantsCCRC OPCO -FREEDOM SQUARE, LLC and CYNTHIA

 AYALA assumed duties to protect and preserve DONALD J. JACK's Federal and State                                  privacy

 rights, including those privacy rights enshrined in Article I, Section 23                  ofthe Florida Constitution.


         122.     Defendants CCRC OPCO                -

                                                          FREEDOM SQUARE, LLC and CYNTHIA AYALA


 accepted the special confidence and trust placed upon them by DONALD                            J. JACK     by admitting

 him into the   Facility and by,     among other things:      explicitlyassuming, through words and actions,

 the various duties described in the         preceding paragraphs regarding protecting his confidentiality,

 protecting his privacy, protecting his             individual   liberties,    and   managing       and   safeguarding his

 personal finances; assuming responsibility and control                over   every aspect     of   DONALD J. JACK's




                                                            27
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 28 of 40 PageID 41




 day-to-day life; and voluntarily undertakingresponsibility for the specific level of care, protection,

 supplies and services that would be provided to               DONALD J. JACK.


           123.        DefendantsCCRC OPCO             -

                                                           FREEDOM SQUARE, LLC and CYNTHIA AYALA


 individually        and   collectively controlled,        oversaw    and orchestrated every        single aspect        of


 DONALD J. JACK's                existence, from the    mundane (such      as   the   clothing worn) to   the vital   (such

 as   determining when and how healthcarewould be provided, as well as how much food and water

 DONALD J. JACK could                consume).

           124.        DONALD J. JACK          was   solely    and   particularly dependent upon      the      employees,

 officers, directors,         and agents of Defendants CCRC OPCO                -

                                                                                    FREEDOM      SQUARE,        LLC and


 CYNTHIA AYALA to                 provide for his daily care, protection, services, supplies and personal               and


 intimate needs.


           125.        Defendants CCRC OPCO            -

                                                           FREEDOM SQUARE, LLC and CYNTHIA AYALA


 developed       a   special relationship with   DONALD J. JACK by virtue of: the nature of the                  care   and


 services      provided;   the   trustee-beneficiary relationship they maintained toward him regarding                  his


 personal property and finances;            the Federal and State         confidentiality and privacy       laws CCRC


 OPCO      -

               FREEDOM         SQUARE, LLC undertook to comply with DONALD J. JACK; the superior

 knowledge,          skill and abilities of Defendants CCRC OPCO                -

                                                                                    FREEDOM      SQUARE,        LLC and


 CYNTHIA AYALA; the                 enormous   disparity of power and unequal bargaining Defendants CCRC

 OPCO      -

               FREEDOM SQUARE, LLC and CYNTHIA AYALA                                  enjoyed DONALD      J.   JACK; and

 his   inability to    care   for and provide for himself.


           126.        This    special   confidential      relationship   allowed Defendants CCRC OPCO                    -




 FREEDOM             SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidencetoward

 DONALD J. JACK, which required fidelity, loyalty,                   good faith, and fair dealing by CCRC OPCO



                                                               28
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 29 of 40 PageID 42



 -

     FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO                                               -
                                                                                                                      FREEDOM


 SQUARE, LLC and CYNTHIA AYALA had a duty to refrain from engaging in self-dealing.

           127.     At all times material to this            action,         Defendants CCRC OPCO             -

                                                                                                                      FREEDOM


 SQUARE,      LLC and CYNTHIA AYALA                       were   each    a   fiduciary   of DONALD J. JACK based              on



 the   special relationship between the parties.

           128.     At all times material to this            action,         Defendants CCRC OPCO             -

                                                                                                                      FREEDOM


 SQUARE,          LLC and CYNTHIA AYALA owed                        fiduciary     duties to DONALD J. JACK. See


 Greenfield v. Manor Care, Inc., 705            So. 2d 926       (Fla.   4th DCA    1997).

           129.     Defendants CCRC OPCO              -
                                                          FREEDOM SQUARE, LLC and CYNTHIA AYALA


 acted and failed to act in material breach of their                fiduciary     duties owed to DONALD J. JACK.


 Instead DefendantsCCRC OPCO               -

                                               FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in


 ways to   promote their own interests and in contravention ofthe interests of DONALD J. JACK.

           130.     Defendants CCRC OPCO              -


                                                          FREEDOM SQUARE, LLC and CYNTHIA AYALA


 breached and violatedits relationship oftrust, special                  confidence, and its fiduciaryobligations and

 duties owed to DONALD J. JACK by.


                    a) Failing   to take   adequate        action to address COVID-19              concerns   at the    Facility

                       as   Defendants   represented they would through their various websites as alleged

                       in   paragraphs 41      and   45;

                    b) Failing   to take   adequate action         to minimize the risk and          spread of COVID-19

                       and   implementadequate care, services, and infection control                       at the     Facility as

                       alleged in paragraphs 46,           50 and    51; and

                    c) Knowingly     and       recklessly engaging             in the    profits   over   residents scheme


                       described herein in       an   effort to increase the        profitability of the Facility, for the



                                                              29
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 30 of 40 PageID 43




                        benefit of Defendants and their joint venture, and at the expense of and to the


                        direct detriment of DONALD J. JACK.


          131.     In   violating         their   fiduciary obligations        and duties to DONALD J.                  JACK,

 Defendants CCRC OPCO                 -
                                          FREEDOM        SQUARE,            LLC and CYNTHIA AYALA knew that


 DONALD J. JACK would suffer                      harm, including but       not limited to the      daily injuries resulting

 from the   daily invasion of rights vested in DONALD J. JACK, as well as economic harm.

          132.     Defendants CCRC OPCO                    -

                                                                   FREEDOM       SQUARE,        LLC's and CYNTHIA


 AYALA's breaches of the duties owed to DONALD J. JACK                                 were   the   legal   cause   of the   loss,

 injury   and    damages   suffered         by    DONALD J. JACK. As the direct and                    proximate      result of


 Defendants CCRC OPCO             -

                                      FREEDOM SQUARE, LLC's and CYNTHIA AYALA'sbreaches of


 the duties owed to DONALD J.                       JACK, DONALD J. JACK contracted COVID-19 and

 subsequently died from this infection.

          WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO                                                     -




 FREEDOM         SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

 disgorgementof profits, consequential damages, and further demands a trial by jury together with

 such other and further reliefas this Court deems                   appropriate.

            COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
  As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
 MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                                             LIFE CARE         SERVICES, LLC

          133.     Plaintiff
                           fr
                            re-alleges and           incorporates herein by reference paragraphs 1 through                   132.


          134.     This is   a   claim that presents           a   theory   of recovery based upon the presence and


 breach of a     fiduciary duty   owed by Defendants CCRC OPCO                     -

                                                                                       FREEDOM         SQUARE, LLC and

 CYNTHIA         AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

 encompassed in negligence or Chapter 400, Fla.                     Stat.



                                                                   30
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 31 of 40 PageID 44




           135.    As set forth in Count I    above, CCRC       OPCO     -

                                                                             FREEDOM         SQUARE, LLC and

 CYNTHIA AYALA owed and breached                  fiduciary duties owed to    DONALD J. JACK.


           136.    Defendants are related entities within a      single enterprise or joint venture.

           137.    Defendants had actual     knowledge of DONALD             J. JACK's      fiduciary relationship

 with CCRC OPCO            -

                               FREEDOM   SQUARE, LLC and CYNTHIA AYALA by virtue of its close

 corporate relationship to CCRC OPCO              FREEDOM SQUARE, LLC.
                                              -




           138.    By   reason    of their shared and/or       common    ownership, directors,        officers and


 managers and/or contractual       relationships, Defendantsknew of the fiduciary duties CCRC OPCO

 -

     FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of


 CCRC OPCO        -

                      FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of those duties


 as   described in Count I.


           139.    Defendants knew that the residents at the          Facility, including DONALD         J.   JACK,

 were    incapable    of   independently providing     their   own    necessary   care     and   were   solely   and


 specificallydependentupon the employees, officers, directors, and agents to provide for their basic

 daily care, protection, services, supplies, and personal and intimate needs.

           140.    Defendants     knowingly participated        and    provided   substantial assistance and


 encouragement        to CCRC OPCO       -

                                             FREEDOM         SQUARE,      LLC and CYNTHIA AYALA in


 connection with their breach of fiduciaryduties to DONALD J.                JACK,   as   set forth in detail within


 Count I above.


           141.    In addition to this   knowledge, Defendants aided          and abetted Defendants CCRC


 OPCO     -

              FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties


 and rendered substantial assistance and encouragement for the same,              by, among other things:

                        a) Engaging in the conduct set forth in detail within Count I above;



                                                        31
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 32 of 40 PageID 45




               b) Exercising      dominance and control               over     CCRC OPCO          -
                                                                                                      FREEDOM


                  SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

                  all of the   Facility's revenues into an account controlled by the joint venture

                  or   enterprise,   and/or their    designee;

               c) Knowingly and intentionally taking, creating                 and   accepting inter-company

                  fees and     transfers, comprised of revenues              obtained from the residents and


                  designed to improperly and unjustly enrich Defendantsinstead of allowing

                  the   Facility to   utilize said   resources       effectively and efficiently to         attain   or



                  maintain the       highest practicable physical, mental,              and   psychosocial well-

                  being of each resident, including DONALD J. JACK, as required;

               d) Structuring     and   approving contracts betweenDefendantsand CCRC OPCO

                  -

                      FREEDOM         SQUARE, LLC, which Defendants knew                         or   should have


                  known would result in the diversion of                     Facility   revenues      necessary to


                  provide the     care   and services to its residents, DONALD J.               JACK;

               e) Overseeing      and    approving    CCRC OPCO            -

                                                                               FREEDOM        SQUARE, LLC's

                  and CYNTHIA AYALA's acceptance of monies from residents, including


                  DONALD J. JACK,            knowing the Facility could not provide full value of

                  the   care   and services to meet the    care      and   safety needs of the residents;

               f) Directly or indirectlymisrepresenting the nature ofthe relationship between

                  Defendants and          CCRC        OPCO       -

                                                                      FREEDOM           SQUARE, LLC and

                  CYNTHIA AYALA, in which Defendantsby virtue ofthe common owners,


                  officers and managers, controlled the business                     operations       and   working




                                                 32
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 33 of 40 PageID 46




                               capital   of the   Facility   and   inappropriately commingled       its   revenues    by

                                                  yttransfers to related facilities;
                               making intra-company

                        g) Structuring the managing and operating businessmodel                  for the   Facility in a

                               way that constrained its      ability to provide the    level of care and services to


                               residents, including DONALD             J. JACK, while    simultaneouslybenefitting

                               Defendants and other upstream corporate          entities; and,

                        h) Influencing, advocating,            and      approving    CCRC OPCO        -

                                                                                                           FREEDOM


                               SQUARE, LLC's and CYNTHIA AYALA's improper payments                                     to



                               Defendants, which Defendants knew            exceeded amounts a     prudent and      cost


                               conscious buyer would pay, and which Defendants also knew would cause


                               the monies intended for the         provision of care and   services to the   residents,

                               including DONALD J. JACK, to be depleted.

            142.   The conduct ofDefendants as alleged, constitutes aiding and               abetting CCRC OPCO

 -

     FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of fiduciary duties and                                  subjects

 Defendants to     liability for the harm suffered by DONALD J.              JACK.


            143.   In   aiding   and   abetting CCRC OPCO          -

                                                                       FREEDOM SQUARE, LLC and CYNTHIA


 AYALA in violating           fiduciary obligationsand duties to DONALD J.              JACK as referenced herein,


 Defendants knew that DONALD J. JACK would suffer harm and                             injuries, including    the   daily

 injuries flowing    from the      repeated   breaches of     fiduciary duties      in which Defendants aided and


 abetted.


            144.   As   a    result of Defendants'    aiding and abetting in        the breaches of fiduciary duties


 by   CCRC OPCO          -

                              FREEDOM        SQUARE, LLC and CYNTHIA AYALA, Defendants                              were



 improperly and unjustly enriched, the Facility was left without the necessary resources to                   function




                                                             33
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 34 of 40 PageID 47




 in the residents' best         interests,   and DONALD J. JACK suffered both the                      injuries   set forth herein


 as   well   as   economic harm.


             145.      Furthermore, as the       direct and         proximate result of Defendants' aiding           and   abetting

 breaches of        fiduciary     duties   by   CCRC OPCO              -
                                                                           FREEDOM       SQUARE,        LLC and CYNTHIA


 AYALA, DONALD J. JACK contracted COVID-19 and subsequently died.

             WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

 SENIOR           LIVING,        INC.;       BKD      TWENTY-ONE              MANAGEMENT                    COMPANY,         INC.;

 AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for damages,


 unjust enrichment, restitution, disgorgement of profits, consequential damages,                                     and further


 demands      a   trial   byjurytogether with such other and further relief as this Court deems appropriate.

                    COUNT III: VIOLATIONS OF FLORIDA STATUTES §415.1111
      As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
 MANAGEMENT                   COMPANY, INC.;        AMERICAN RETIREMENT CORPORATION; and
                                              LIFE CARE SERVICES, LLC


             146.      Plaintiff
                               fr
                                re-alleges and        incorporates herein by reference paragraphs 1 through 3,9,

                                                      and 31 above.


             147.      For the purposes of this count and              only this count,    it is not   alleged that Defendants

 are a   licensee      or   entity that established, controlled, conducted, managed or operated the Facility.

             148.      DONALD J. JACK                was   at all   relevant times   a   vulnerable adult with       a   long-term

 disability.      He   was    seventy-five (75)      years of age and       was   unable to perform the normal activities


 of daily    living or to provide for his own care or protection due to his disability.

             149.      Defendants' acts         or   omissions constitute         exploitation    of    a   vulnerable adult in


 violation of Section 415.1111, Florida Statutes.


             150.      Defendants knew          or    should have known that DONALD J. JACK lacked the


 capacity to consent, but Defendantsobtained or used, or endeavored to obtain or use                                DONALD J.



                                                                     34
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 35 of 40 PageID 48




 JACK's      funds,   assets or    property, including Medicare and Medicaid benefits, with the intent to

 temporarily or permanently deprive                 DONALD J. JACK of the use, benefit                    or
                                                                                                               possession of the

 funds, assets, or property for the benefit of someone                    other than DONALD J. JACK.


          151.        The      compensation Defendants received                  was     derived from the      private   funds of


 vulnerable    adults, including           DONALD J. JACK,               or   from Medicaid and/or Medicare funds that


 were   beneficiaries' assets,        including DONALD               J. JACK, which         were    paid to   Defendants for the


 sole purpose of providing for the support and maintenance of the                             Facility's residents, including

 DONALD J. JACK.


          152.        Defendantsreceived           compensation that they should have known would deprive the

 Facility of adequate resources to provide for the necessities of DONALD J.                               JACK     s   support and

 maintenance, which            should have been used to, inter            alia, implement       a   sufficientinfection control


 program at the Facility and to            secure   sufficient PPE and          supplies to prevent the spread of COVID-

 19 at the   Facility.

          153.        Defendants failed        or   refused    to    effectively use       DONALD J. JACK's income              or



 assets for the   necessities required for his support and maintenance.


          154.        Defendants' failure          or   refusal to   effectively use       DONALD J. JACK's income              or



 assets as set forth        herein,   was    the   proximate    cause         of the losses he suffered       including,   but not


 limited to the use,       benefit,   or   possession of the funds,           assets or   property for his benefit.

          155.        As   a   direct and   proximate result         of Defendants' acts and          omissions,   DONALD J.


 JACK was      deprived of the use, benefit or possession of the funds,                      assets or   property.

          WHEREFORE,               Plaintiff demands judgment                  against    Defendants     HCP;    BROOKDALE


 SENIOR        LIVING,           INC.;     BKD          TWENTY-ONE               MANAGEMENT               COMPANY,          INC.;

 AMERICAN RETIREMENT                          CORPORATION; and                     LIFE     CARE       SERVICES, LLC for



                                                                    35
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 36 of 40 PageID 49




 disgorgemento f profits, consequential damages, attorneys' fees and costs, pre-judgment interest,

 trial   by jury of all matters so triable, and such other relief this Court deems appropriate.

         COUNT IV: VIOLATION OF FLORIDA'SDECEPTIVE AND UNFAIR TRADE
                                      PRACTICES ACT, § 501.201 ETSEO.
     As to Defendants CCRC OPCO                   -
                                                      FREEDOM SQUARE, LLC; HCP; BROOKDALE
    SENIOR LIVING,                 INC.;   BKD TWENTY-ONE MANAGEMENT                           COMPANY, INC.;
     AMERICAN RETIREMENT CORPORATION; and LIFE CARE                                             SERVICES, LLC

            156.     Plaintiff re-alleges and       incorporates herein by reference paragraphs 1 through               107


 above.


            157.     Plaintiff     brings   this Count pursuant to the Florida           Deceptive    and Unfair Trade


 Practices    Act,   section 501.201 etseq., Florida Statutes (hereinafter"FDUTPA").


            158.     Under     FDUTPA, "lulnfair methods of competition, unconscionable                          acts    or


                                                                                                                   ..


 practices, and unfair        or   deceptive acts     or   practices   in the conduct of any trade    or commerce       are



 unlawful. Fla. Stat.     §   501.204 (1).


            159.     By engaging       in the above described conduct and the additional conduct described


 below, Defendants engaged in unconscionable,unfair and deceptive acts and practices in violation

 of FDUTPA in connection with their advertising, soliciting,providing, and                      offering services at the

 Facility, which acts     and practices       ultimately victimized DONALD J. JACK, a                senior citizen.


            160.     At all relevant        times, Defendants, their officers, directors,          and managers    were




 engaged      in trade and         commerce    in Florida within the          meaning    of FDUTPA       as   Defendants


 advertised, solicited, provided, and           offered services to       consumers    and senior citizens.

                                                                                                                          ..
            161.     At all relevant       times, DONALD         J. JACK     was a   "consumer" and "senior citizen


 within the    meaning FDUTPA as he was an individual                    over   the age of sixty (60).


            162.     Defendants, their officers, directors, and managers marketed and advertisedservice

 at the   Facilitydirectlyto senior citizen consumers, including DONALD J. JACK, by disseminating



                                                                36
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 37 of 40 PageID 50




 brochures, web sites, videos, advertisements, and             other   information, which were prepared in part,

 by the Facility's related corporate entities.

          163.      Defendants, their officers, directors,        and managers made           unfair, deceptive       and


 misleading representationsin their advertising            materials distributed to senior citizen consumers,


 including DONALD          J. JACK,    regarding the    level of services      they provided to      vulnerable senior


 citizens and    nursing home residents.

          164.      Defendants, their officers, directors,        and managers advertised and offered their


 nursing facilities by promising to meet residents' needs, to keep them clean, comfortable and safe,

 and to   provide food, water, care, and services as needed.             These statements were        false, deceptive,

 and   misleading.

          165.      Defendants     advertising     materials omitted information that                was     material to


 consumers,      including DONALD          J. JACK,    by failing to    disclose that DONALD J. JACK would


 experiencelong delays in the delivery of care and services and that he would often be deprived of

 the   care   and services he   required and bargained for.

          166.      Defendants, their officers, directors, and                managers      engaged     in      deceptive,

 misleading,     and unfair   practices by representing that certain care             and services   were or    would be


 provided to     DONALD J. JACK,           as   documented in his      care
                                                                              plans   and assessments, when in fact


 that care and services were       never   provided.

          167.      Defendants, their officers, directors and managers further promised                    to   provide   a



 clean, safe,    and   sanitary living environment throughout DONALD                   J. JACK's     residency    at their



 facilities, for which Defendants were handsomelypaid.

          168.      Defendants     affirmatively     concealed material facts from DONALD J. JACK


 regarding the     existence and effect of the COVID-19 outbreak at the Facility, and led DONALD J.




                                                          37
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 38 of 40 PageID 51




 JACK to believe that the            Facility   was    a   safe   environment,       when in fact the      Facility   was



 contaminated with COVID-19.


          169.       Defendants, their officers, directors and        managers failed to          appropriately manage

 the real property at the          Facility   and failed to maintain            a   clean, safe, and habitable living

 environment for their residents.


          170.       Defendants, their officers, directors and managers, through their deceptive,

 unconscionable,and unfair acts and omissions, misled DONALD J. JACK into believing that their

 facilities were     properly managed, maintained,          and   equipped to       meet his basic   needs, when it was

 not.


          171.       Defendants, their officers, directors and managers failed               to   provide DONALD       J.


 JACK with       a   living environment and premises that reciprocated the               rents and other   charges they

 were   paid for his residency.

          172.       Defendants, their officers, directors and managers caused the Facility to                enter into


 a   lease agreement so        onerous   that it left Defendants without the           ability to provide an adequate,

 safe, decent, and clean living environment, despite promising DONALD                         J. JACK that he would


 receive the   same     in   exchange for the monies he paid.

          173.       Defendants' failure to      provide basic     care   and services to DONALD J. JACK not


 only violated the FDUTPA, but also degraded DONALD                        J.   JACK, increased his risk of serious

 negative   health consequences, and caused him to suffer medical expenses, serious                         injury,   and


 death.


          174.       In addition to these       deceptive, unconscionable, and            unfair acts and    omissions,

 Defendants misled consumers,              including   DONALD J. JACK,                by failing   to disclose that the


 Facility's related corporate entities exercised control over the Facility, by among other things: (a)



                                                             38
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 39 of 40 PageID 52




 restricting the ability ofthe Facility's managers and           administratorsto increase staffing levels;      (b)

 supervising,     and in   some   case,   overriding the personnel decisions of the Facility; (c) creating       and


 implementing company-wide policies and               incentive programs; and       (d) entermg into agreements,

 including onerous lease and management agreements.

           175.     Defendants, their officers, directors and        managers failed to      provide DONALD       J.


 JACK with the basic care and services he           required and bargained for with respect to his use of the

 Facility's premises.

           176.     Defendants'     deceptive, unconscionable, and       unfair statements and      practices   were



 in violation of FDUTPA.


           177.     Defendants' deceptive,       unconscionable,and unfair representations, omissions, and

 practices were     of the type that would       likely mislead   Florida   consumers      acting reasonably in the

 circumstances, to the      consumers'      detriment, and   were   particularly misleading and      detrimental to


 the senior citizens and infirm residents at their        Facility, including DONALD J.         JACK.


           178.     DONALD J. JACK could not have detected the existence and effect ofthe COVID-


 19 at the   Facility or the   existence of the     onerous    agreements, the corporate entities control       over



 the   Facility that led to the lack of care, services, and sanitary living environment at the Facility.

           179.     DONALD J. JACK admitted himself to the                      Facility   and had therefore been


 aggrievedby Defendants unconscionable,unfair and deceptive practices in violation of FDUTPA.

           180.     DONALD J. JACK sustained               damages     as   a   direct and    proximate   result of


 Defendants' violations of FDUTPA.


           181.     DONALD J. JACK did not receive the benefit of the                  bargain, overpaid for     the


 services, and suffered actual damages.




                                                          39
Case 8:20-cv-01546-CEH-TGW Document 1-1 Filed 07/08/20 Page 40 of 40 PageID 53




           182.     The damages sufferedby DONALD J. JACK were directly and proximately caused


 by the unconscionable,deceptive, misleading, and unfair practices of Defendants.

           183.     Defendants' violations were willful as Defendantsknew              or   should have knownthat


 their conduct was unfair       or   deceptive or prohibited by FDUTPA.

           184.     Defendants' violations      are      made   even more   reprehensible because    of Defendants'


 attempt   to   exploit   senior citizens   during   a   global pandemic for profit,   while   posing   a   serious and


 direct threat to the health and       safety of senior     citizens such as DONALD J. JACK.


           WHEREFORE, Plaintiffdemands judgment against Defendants for damages pursuant to

 section   501.211(2),FloridaaSStatutes, in an amount to be proven at trial, pre-judgment interest,post-

 judgment interest, attorney's fees and court costs as provided in section 501.2105, Florida Statutes,

 and further demands a trial         byjury, together with such other and further relief as this Court deems

 appropriate.


                                                         /s/ Bennie Lazzara, Jr.
                                                         Bennie Lazzara, Jr., Esquire
                                                         Florida Bar No. 119568




                                                         fl@wilkesmchugh.com
                                                         James L. Wilkes, II, Esquire
                                                         Florida Bar No. 405337



                                                         Jason R.   Delgado, Esquire
                                                         Florida Bar No. 591122



                                                         WILKES &    MCHUGH, PA
                                                         1 N. Dale Mabry Highway, Suite        700

                                                         Tampa, FL 33609
                                                         Telephone: (813) 873-0026
                                                         Facsimile: (813) 286-8820
                                                         Attorneys for the Plaintiff


                                                             40
